     Case 1:25-cv-02276-AMD-VMS                    Document 2           Filed 04/25/25      Page 1 of 3 PageID #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York


                     WILLIAM CASTILLO                           )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                V.
                                                                )        Civil Action No. 25-cv-2276
                                                                )
    YESHIVA KETANE IMREI CHAIM VIZNITZ OF                       )
          BORO PARK and ISAAC BECK                              )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SEE ATTACHED RIDER




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received i t ) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - y o u must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Colin Mulholland, Esq.
                                  36-36 33rd Street, Suite 308
                                  Astoria, NY 11106
                                  Telephone: (347) 687-2019
                                  Cm ulhol landesq@gmail.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date: - - -4- -/- 2 5/2025
                  ----
                                                                                      Signature o f Clerk or Deputy Clerk
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 Civil Action No. 25-cv-2276

                                                        PROOF OF SERVICE
                       (This secti.on should not he filed wi,th the court unless required hy Fed R. Civ. P. 4 (l))

           This summons for (name o f individual and title, i f any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name o f individual)                                                                    , who is
            designated by law to accept service of process on behalf of {name o f organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify).




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:




           Print                       Save As ...                                                                    Reset
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                                   RIDER

  YES HIV A KETANE IMREI CHAIM VIZNITZ OF BORO PARK
  585 Gannon Ave N
  Staten Island, NY 10314

  ISAAC BECK
  5406 14th Ave Apt 5
  Brooklyn, NY 11219-4217
